                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF WISCONSIN
                                  MILWAUKEE DIVISION


DR. STEPHANIE W. MCKENNIE,

                Plaintiff,

        v.                                                   Case No.: 22-835

EXCELSIOR COLLEGE,

                Defendant.


                              STIPULATION FOR DISMISSAL


        The Parties, by and through their respective counsel, hereby stipulate that the

Court may enter an Order dismissing this action, with prejudice, and without costs or

attorneys’ fees to either party.

        Dated: January 17, 2023.

 ALAN C. OLSON & ASSOCIATES, S.C.               JACKSON LEWIS PC


 s/ Alan C. Olson
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